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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  KUSUMA NIO, et al.,

                          Plaintiffs,

                  v.                                 Civil Action No. 17-0998 (ESH)

  UNITED STATES DEPARTMENT OF
  HOMELAND SECURITY, et al.,

                         Defendants.



                                              ORDER

       For the reasons stated at the Court’s June 20, 2018 hearing, it is hereby

       ORDERED that defendants’ motion to dismiss the second amended complaint, ECF No.

116, is DENIED WITHOUT PREJUDICE; it is further

       ORDERED that plaintiffs shall file a motion, or partial motion, for summary judgment

on all claims (excluding their unreasonable delay claim) on or before August 13, 2018. The

motion will be limited to 45 pages (not including appendices). Plaintiffs should separate their

arguments concerning the MSSD issue in their motion so that the briefing addresses defendants’

July 7th Policy with the MSSD and without the MSSD (i.e., the steps in DOD’s security

screening process prior to the CAF Adjudication); it is further

       ORDERED that defendants shall file their opposition and cross-motion for summary

judgment (excluding the unreasonable delay claim) on or before September 14, 2018, not to

exceed 60 pages; it is further

       ORDERED that plaintiffs shall file their opposition and reply on or before October 12,

2018, not to exceed 45 pages; it is further
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          ORDERED that defendants shall file their reply on or before November 4, 2018, not to

exceed 25 pages; it is further

          ORDERED that the issue of the May 17, 2018 USCIS Guidance’s admissibility as an

appendix to plaintiffs’ motion for summary judgment shall be referred to Magistrate Judge

Meriweather as part of her ongoing case-management referral; it is further

          ORDERED that plaintiffs may include Exs. 1–11 of their June 11, 2018 Response to the

Court, ECF No. 154, in their appendices to their summary judgment filing (“appendices”); it is

further

          ORDERED that plaintiffs’ Ex. 12 of their June 11, 2018 Response to the Court, ECF No.

154, and named plaintiffs’ files will not be included in their motion for summary judgment; it is

further

          ORDERED that defendants’ will begin reporting their monthly data on a six-week

basis—beginning with their July 6, 2018 report filed instead on July 20, 2018—but will provide

plaintiffs with a preliminary report for corrections at four-week intervals (e.g., July 6, 2018 for

defendants’ July 20, 2018 report). Defendants shall continue to report on the status of the named

plaintiffs on a biweekly basis; it is further

          ORDERED that defendants will begin including—starting with their July 20, 2018

report—a number of and list of class members who come within the DTP’s 3-year timeout mark

within the next (1) 90 days, and (2) six months; it is further

          ORDERED that defendants will provide the Court notice of any class members who

could be discharged from DTP for timeout reasons within three weeks of the expected discharge;

and it is further

          ORDERED that, on or before July 20, 2018, defendants shall file a notice with the Court



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explaining the form equivalent to a Form DD-214 that class members who are discharged would

receive and what assurances that form provides that a class member’s naturalization application

will be adjudicated by USCIS.



                                                    /s/ Ellen Segal Huvelle
                                                    ELLEN SEGAL HUVELLE
                                                    United States District Judge
Date: June 20, 2018



CC: Magistrate Judge Robin Meriweather




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